          Case 1:18-cv-01551-ESH Document 46 Filed 10/17/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.,

                           Plaintiffs,

                  v.                                  Civil Action No. 18-1551 (ESH)

  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                           Defendants.



                                              ORDER

       On October 17, 2018, the Court held a hearing in this case. As discussed during the

hearing, it is hereby

       ORDERED that plaintiffs’ motion for preliminary injunction and provisional class

certification, ECF No. 20, is DENIED WITHOUT PREJUDICE; it is further

       ORDERED that plaintiffs’ motion for class certification and appointment of class

counsel, ECF No. 21, is DENIED WITHOUT PREJUDICE; it is further

       ORDERED that defendants’ motion to stay defendants’ response to the amended

complaint, ECF No. 31, is DENIED AS MOOT; it is further

       ORDERED that defendants shall file by Friday, October 19, 2018 at 12 p.m. a report

listing every MAVNI who has received a discharge order from the U.S. Army Recruiting

Command (USAREC) and/or U.S. Army Reserve Command (USARC) that was effective on or

after July 20, 2018. This report shall specify 1) the effective date of each discharge order, 2)

whether the MAVNI is in DTP or DEP, and 3) the basis for discharge. Defendants are to file two

versions of this report:
          Case 1:18-cv-01551-ESH Document 46 Filed 10/17/18 Page 2 of 3



               a. Defendants shall file under seal one version of this report whereby

                   defendants disclose the names of those MAVNIs on the list who are class

                   members in Nio v. United States Department of Homeland Security, No. 1:17-

                   cv-00998, or Kirwa v. United States Department of Defense, No. 1:17-cv-

                   01793; and

               b. Defendants shall publicly file a version of this report in which all MAVNI

                   names have been redacted; it is further

       ORDERED that defendants shall file by Friday, October 19, 2018 at 12 p.m. a report

detailing the status of the MAVNI soldier who is the subject of the U.S. Army Recruiting

Battalion discharge order found at ECF No. 26-7, including a description of 1) whether he or she

received this discharge order due to an unfavorable MSSD or for some other reason, and 2)

whether his or her separation proceedings were suspended under the July 20, 2018

memorandum, and if not whether it is expected that he or she may be affected by the Army’s

new policy currently in development; it is further

       ORDERED that defendants shall file by Friday, October 19, 2018 at 12 p.m. a report

clarifying whether any DEP or DTP MAVNI is expected to be discharged (or has been

discharged within the past year) due to reaching the three-year time-out; it is further

       ORDERED that defendants’ next bi-weekly status report regarding the Army’s new

policy—as required by this Court’s Order at ECF No. 23—shall be filed no later than

Wednesday, October 31, 2018 at 12 p.m.; it is further

       ORDERED that plaintiffs’ motion for a briefing schedule, ECF No. 36, is GRANTED

IN PART; it is further

       ORDERED that plaintiffs are granted leave to further amend their complaint. Plaintiffs’



                                                                                                 2
           Case 1:18-cv-01551-ESH Document 46 Filed 10/17/18 Page 3 of 3



second amended complaint shall be filed no later than Tuesday, November 13, 2018 at 12 p.m.;

it is further

        ORDERED that plaintiffs shall file any renewed motion for class certification no later

than Tuesday, November 13, 2018 at 12 p.m.




                                                    _______________________
                                                    ELLEN S. HUVELLE
                                                    United States District Judge

Date: October 17, 2018




                                                                                                 3
